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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

         Plaintiff,

                  v.                       CRIMINAL NO. 12-413 (FAB)

ORLANDO RIVERA-FUENTES [5],
ERNESTO MARTINEZ GONZALEZ [7],
CARLOS CAMACHO-SANTIAGO [14],
HELVIS ORTIZ RIVERA [18],

         Defendants.


                           MEMORANDUM AND ORDER

BESOSA, District Judge.

     Before    the     Court   are defendants     Orlando    Rivera-Fuentes’,

Ernesto Martinez-Gonzalez’s, Carlos Camacho-Santiago’s, and Helvis

Ortiz-Rivera’s motions to dismiss the indictment for violations of

the Speedy Trial Act (“STA”) and the Sixth Amendment of the U.S.

Constitution (Docket Nos. 1071, 1074, 1082 & 1085),1 and the United

States’s response (Docket No. 1084).           For the reasons that follow,

the Court DENIES defendants’ motions.




     1
       The docket text for this motion states “Motion to adopt other co-
defendants motions” and refers to the motion to dismiss on speedy trial
grounds at docket number 1071.    The document uploaded, however, is a
motion to adopt other codefendants’ motions to sever, dated September 12,
2013. Because the motion was seemingly uploaded by mistake, the Court
granted Mr. Martinez’s motion as phrased in the docket text (Docket
No. 1087), and will consider Mr. Martinez as having joined the motions
to dismiss.
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I.     Background

       Defendants and sixteen other defendants were indicted in a

two-count drug trafficking conspiracy on May 24, 2012; the last

defendant of those that have appeared was arraigned on August 20,

2012.       Two defendants remain at large.      A superseding indictment,

adding a money laundering count to one of the defendants and two

new defendants, was filed on March 15, 2013.              The last defendant

charged in the superseding indictment waived his arraignment on

April 1, 2013.         Between June 28, 2013 and October 1, 2013, six

defendants and the United States filed motions regarding the

misjoinder of count three in the superseding indictment.                    (See

Docket Nos. 732, 804, 819, 836, 911, & 927.)              The Court issued a

memorandum and order severing the third count on October 22, 2013.

(Docket No. 935.)       The defendants moved to dismiss the indictment

beginning on January 28, 2014.         (Docket No. 1071.)         Trial of the

first    group    of   defendants   (“Group    One”),   which    includes       the

movants, is scheduled for February 24, 2014. (Docket No. 1070.)

II.    Defendants’ Motion to Dismiss the Indictment

       Defendants argue for the dismissal of the indictments against

them due to violations of the STA and the Sixth Amendment.                      The

Court addresses each proffered ground for dismissal in turn.

       A.      Speedy Trial Act

               The STA requires that trial commence within seventy days

of the filing of an indictment, or the first appearance of the
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defendant in court, whichever is later.                18 U.S.C. § 3161(c)(1).

Certain periods of delay, as outlined in section 3161(h)(1)-(9),

are excluded from the seventy-day calculation.                    Id. § 3161(h).

These    exclusions     include    delays    “resulting    from    any   pretrial

motion, from the filing of the motion through the conclusion of the

hearing on, or other prompt disposition of, such motion.”                         Id.

§ 3161(h)(1)(D); see also Bloate v. United States, 559 U.S. 196,

205 (2010).      If trial does not commence by the end of seventy days

plus the excluded periods, the “indictment shall be dismissed on

motion of the defendant.”          Id. § 3162(a)(2).

            Defendants     contend    that    the   indictment     against    them

should be dismissed because more than seventy non-excludable days

have elapsed since the time of their indictment without a trial, in

violation of the STA.        The United States’s principal argument in

response    is   that    because    two     indicted    defendants     are   still

fugitives that have never been arrested or arraigned, the STA has

not even begun to run for any defendant.2               The cases cited by the

government in support of this proposition are not controlling, and

are distinguishable from this case because they involved delays of

two and four months between the arraignment of the moving defendant


     2
       The Court notes its frustration with the poor quality of the
government’s response. The United States cursorily addressed defendants’
STA arguments, and did not even respond to defendants’ Sixth Amendment
arguments.    “In a case of this magnitude and complexity, careful
attention to both the legal claims made by [defendants] and the record
evidence in support or opposition thereof is required.” United States
v. Casas, 425 F.3d 23, 31 n.5 (1st Cir. 2005).
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and the fugitive defendant, whereas this case involves a twenty-

month delay, and the two defendants remain fugitive.                     See United

States v. Souffront, 338 F.3d 809 (7th Cir. 2003); United States v.

Sanora, 2010 WL 4638324, *1 (S.D. Ill. 2010). Absent guidance from

the    First    Circuit    Court    of    Appeals    indicating      that   the     STA

indefinitely awaits the appearance of fugitive defendants, even as

the parties proceed to trial, the Court refuses to find that the

STA clock has yet to begin running.

               Defendants claim that the entire period from the filing

of the superseding indictment on March 15, 2013, “with a few

logical exceptions,” consists of non-excludable days.                        (Docket

No. 1071 at p. 7.)        They also claim that certain time periods prior

to the filing of the superseding indictment counted as STA days.

The superseding indictment in this case added two new defendants

and one new count against a defendant named in the original

indictment (Docket No. 518); accordingly, it reset the STA clock

for all the defendants charged in the original indictment.                          See

United    States    v.    Barnes,   251    F.3d     251,   258   (1st   Cir.   2001)

(affirming the district court’s decision to reset the STA clock

upon the filing of a superseding indictment that added a new

defendant); United States v. Casas, 425 F.3d 23, 31 n.4 (1st Cir.

2005) (“initial appearances of co-defendants from whom appellants

were later severed would also delay the start of the STA clock,

provided the appearance occurred prior to severance.”); cf. United
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States v. Rojas-Contreras, 474 U.S. 231, 236-37 (1985) (holding

that the STA clock was not restarted upon return of a superseding

indictment that merely corrected an error.)

           Defendants contend, “even excluding certain time periods

as a result of the [s]uperseding [i]ndictment,” the STA’s seventy-

day time limit was violated.          (Docket No. 1071 at pp. 7-9.)

Defendant Rivera offers, and his co-movants adopt, a calculation of

120 non-excluded days that have elapsed in violation of the STA.

Rivera erroneously included in his computation, however, numerous

excludable days prior to and after the filing of the superseding

indictment.   Because the defendants have the burden of supporting

their motion, the Court compares their calculations to the docket

in this case in light of the relevant caselaw, arriving at the

following STA computation.         First, as mentioned above, the STA

clock was reset for defendants upon the filing of the superseding

indictment on March 15, 2013, and did not begin to run until the

last defendant waived his arraignment on April 1, 2013, reducing

defendants’    calculation    by    fifteen    days.           See   18   U.S.C.

§ 3161(h)(6) (excluding a “reasonable period of delay when the

defendant is joined for trial with a codefendant as to whom the

time for trial has not run and no motion for severance has been

granted”); Barnes, 251 F.3d at 258; Casas, 425 F.3d at 31 (citing

Henderson v. United States, 476 U.S. 321, 323 n.2 (1986) (finding

that the STA clock begins on the date of the last codefendant’s
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arraignment because “[a]ll defendants who are joined for trial

generally fall within the speedy trial computation of the latest

codefendant”)).     Second, the STA was tolled by two defense pre-

trial motions filed and disposed of on April 14, 2013 (Docket

Nos. 597 & 599) and April 16, 2013 (Docket Nos. 607 & 608),3

reducing defendants’ calculation by two days.          “[A]ny defendant’s

motion resulting in excludable time toll[s] the STA clock for his

codefendants.” United States v. Santiago-Becerril, 130 F.3d 11, 19

(1st Cir. 1997) (internal citations omitted).         Lastly, the STA was

tolled on December 16, 2013, upon the filing of a defense pre-trial

motion that remains pending (Docket No. 1009),4 further reducing

defendants’ calculation by thirty-six days.            Because the STA is

currently tolled by pending pre-trial motions, this computation




     3
        These motions were filed by defendants Carlos Arce-Lopez and
Annette Cancel-Lorenzana before they were severed from trial with the
movants. The Court tolls the movants’ STA calculations accordingly. See
Casas, 424 F.3d at 31 n.4.
     4
       In this motion, defendant Arce joined a pre-trial motion filed by
defendant Cancel. The Court counts the STA tolling from the date of
Arce’s joinder, rather than Cancel’s motion, because Cancel had
previously been severed from the movants, while Arce was not severed from
the movants until January 21, 2014.     (See Docket Nos. 1006, 1059, &
1070.)
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reveals that sixty-seven STA days have elapsed.5                 Accordingly, no

STA violation has occurred.

     B.    Sixth Amendment

           Defendants also move for dismissal of the indictment

against them on Sixth Amendment grounds.           “Although unusual, it is

possible for a delay that does not violate the STA to run afoul of

the Sixth Amendment’s guarantee of a speedy trial.”                  Casas, 425

F.2d at 33 (citing United States v. Salimonu, 182 F.3d 63, 69 (1st

Cir. 1999) and 18 U.S.C. § 3173.).               In determining whether a

defendant’s Sixth Amendment right to a speedy trial has been

violated, courts consider four factors:              (1) the length of the

delay; (2) the reasons for the delay; (3) the defendant’s assertion

of his or her speedy trial right; and (4) prejudice to the

defendant caused by the delay.         See Barker v. Wingo, 407 U.S. 514,

530 (1972).      None of the factors is “either a necessary or

sufficient condition to the finding of a deprivation of the right

of speedy trial.      Rather, they are related factors and must be

considered    together   with   such    other    circumstances       as   may    be

relevant.”    Id. at 533.




     5
       A less conservative calculation would also include a tolling of
the STA between May 8, 2013 and June 17, 2013, while an ex parte defense
pre-trial motion was pending (Docket Nos. 638 & 714), further reducing
defendants’ calculation by twenty-seven days and bringing it to a total
of forty elapsed STA days. See Henderson, 476 U.S. at 329 (concluding
that delays relating to the resolution of pre-trial motions need not be
“reasonably necessary” in order to be excluded).
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              The length of pretrial delay is calculated from arrest or

indictment, whichever occurs first.            United States v. Muñoz-Amado,

182 F.3d 57, 61 (1st Cir. 1999).             Here, the movants were indicted

on May 24, 2012, exceeding the one-year point at which pretrial

delay    is    generally      considered     presumptively       prejudicial        and

triggers further inquiry.          See Doggett v. United States, 505 U.S.

647, 652 n.1 (1992)(internal citations omitted).                 Thus, the length

of delay weighs in favor of defendants’ Sixth Amendment claim.

              The    second     factor,     however,        weighs    against       the

defendants.         Defendants    claim     that    the   government’s     tactical

decisions — such as joining unrelated money laundering and weapons

charges that were ultimately severed — resulted in months of

unwarranted pretrial delay.           The Court finds, however, that the

record   includes      scant     evidence    that     the    delay   was   entirely

attributable to the government’s misconduct or negligence. Twenty-

two people have been indicted in this complex drug conspiracy and

money laundering case; the case docket includes over 1,000 entries.

While defendants claim that the government’s “subterfuge” prevented

the speedy trial clock from running, they allege no misconduct by

the government.       (Docket No. 1071 at p.4 n.1.)           It appears that the

delays were due in large part to the resolution of pre-trial

matters concerning defendants and their co-defendants.                     Further,

“the joint prosecution of defendants involved in the same drug

trafficking conspiracy is justified as a                    means of serving the
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efficient administration of justice.”           Casas, 425 F.3d at 34.

Accordingly, the Court finds that the second factor weighs against

a finding of a Sixth Amendment violation.

           The third factor, the defendants’ assertion of their

speedy trial right, “is entitled to strong evidentiary weight in

determining whether the defendant is being deprived of the right.”

Barker, 407 U.S. at 531-32. Defendants Rivera and Camacho asserted

their speedy trial rights early on in these proceedings.                 (See

Docket Nos. 203 & 836.) The other movants, however, do not claim to

have asserted their speedy trial rights previously.                Thus, the

third factor weighs in favor of Rivera and Camacho, but not against

Martinez and Ortiz.

           When considering the fourth factor, undue prejudice to

the defendant caused by pretrial delay, courts focus primarily on

three speedy trial interests:      (1) preventing oppressive pretrial

incarceration; (2) minimizing anxiety and concern of the accused;

and (3) limiting the possibility that the defense will be impaired.

Barker, 407 U.S. at 532.      The Court also considers the extent to

which delays attributable to the prosecution have specifically

harmed these interests.      See, e.g., Rashad v. Walsh, 300 F.3d 27,

40 (1st Cir. 2002).     The most serious consideration is protection

against impairment of the defense.           Barker, 407 U.S. at 532.

Defendants contend that their defense has been prejudiced because

they cannot locate two material witnesses who would potentially
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offer exculpatory and impeachment evidence; they fail to explain,

however, how the pre-trial delay has impaired this element of their

defense. Rivera further contends that as a result of the prolonged

pretrial delay, he lost his long-term employment and suffers from

continued anxiety.    While the Court does not lightly brush off the

anxiety surely experienced by all four movants, “considerable

anxiety normally attends the initiation and pendency of criminal

charges; hence only ‘undue pressures’ are considered.”               Santiago-

Berrecil, 130 F.3d at 23 (internal citation omitted).               Lastly, the

Court   considers    Camacho’s    detention     since        June    of   2012.

Nevertheless, Camacho’s pretrial incarceration is insufficient on

its own to establish a constitutional level of prejudice.                      Cf.

Casas, 425 F.3d at 34 (finding that forty-one months of pretrial

incarceration, where much of the pretrial delay was attributable to

defendants, did not constitute constitutional prejudice); Santiago-

Becerril, 130 F.3d at 23 (finding fifteen months of pre-trial

incarceration insufficient to create constitutional prejudice);

Barker, 407 U.S. at 534 (finding that prejudice was minimal where

the defendant spent ten months in pretrial incarceration); United

States v. Koller, 956 F.2d 1408, 1414 (7th Cir. 1992) (eight and

one half months of pretrial incarceration insufficient to establish

prejudice.)    Because the movants have failed to show that the

pretrial delay has impaired their defense, caused undue pressures,
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or resulted in oppressive pretrial incarceration, the Court finds

that the fourth factor weighs against them.

            After applying Barker’s factors, the Court concludes that

the movants’ constitutional right to a speedy trial has not been

violated.

III. Conclusion

     For the reasons articulated above, defendants’ motions to

dismiss the indictment for violation of the Speedy Trial Act and

the Sixth Amendment are DENIED.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, February 6, 2014.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
